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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 JANAY E. GARRICK,

                           Plaintiff,
                                                 Case No. 1:18-cv-00573
          v.
                                                 Judge John Lee
 MOODY BIBLE INSTITUTE,                          Magistrate Judge Young Kim

                           Defendant.




                      DEFENDANT MOODY BIBLE INSTITUTE’S
                             MOTION TO RECONSIDER
               THIS COURT’S DENIAL OF MOODY’S MOTION TO DISMISS
                  AS TO THE TERMINATION CLAIMS IN PLAINTIFF’S
                          SECOND AMENDED COMPLAINT




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I.        INTRODUCTION

          This Court’s recent decision on the motion of Defendant, The Moody Bible Institute of

Chicago (“Moody”), to dismiss the Second Amended Complaint of Plaintiff, Janay Garrick

(“Garrick”), permitted Garrick’s employment termination claims based on sex discrimination

and retaliation to proceed. (Dkt. 126.) Moody respectfully submits that this was error. First, the

Court had previously (and correctly) dismissed Garrick’s termination claims under well-settled

religious autonomy doctrines (see Dkt. 91), and the allegations in Garrick’s Second Amended

Complaint (Dkt. 97; “SAC”) were not materially different. Second, the issue that this Court’s

opinion identifies as the reason this case must proceed is one that courts are not permitted to

adjudicate. This Court’s opinion identifies “pretext” as the issue to be adjudicated, that is,

whether Moody’s stated religious reason for Garrick’s termination (which the SAC affirmatively

pleads) was Moody’s “real” reason, or whether unlawful sex discrimination or retaliation were

actually its motivations. But under settled Supreme Court precedent, this Court is not authorized

to decide (or permit a jury to decide) the question of pretext when a religious body terminates an

employee for her admitted nonalignment with its religious requirements. Moody asks that this

Court reconsider its denial of Moody’s motion to dismiss and conclude that dismissal of

Garrick’s termination claims is required.

II.       THE ALLEGATIONS OF THE SECOND AMENDED COMPLAINT

          With respect to Garrick’s termination claims, the SAC pleaded essentially the same facts

as Garrick’s First Amended Complaint. Garrick pleaded that “[o]n April 12, 2017, Ms. Garrick

met with Mr. Davidhizar [the Vice President and Associate Provost of Faculty] and the Vice

President of Human Resources, [at which time] Mr. Davidhizar told her that she did not fit in and

that she was not aligned with MBI’s doctrinal statement as it related to gender roles in ministry.”



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(SAC ¶¶ 21, 85; SAC Ex. A [EEOC Charge at 4].) 1 On April 17, 2017, Garrick was given a

letter terminating her employment based on this religious nonalignment. (SAC ¶ 86; 4/17/17

letter attached hereto as Ex. A.2) The SAC explicitly pleads this religious basis for discharge:

         . . . Ms. Garrick was terminated for her stated position/disagreement with Moody’s
         “Gender Roles in Ministry” addendum included in its doctrinal statement,
         Defendant stating that she could not sign the doctrinal statement based on her
         holding to an egalitarian position. In contrast, Moody holds a complementarian
         position that excludes women from certain roles within the church due to their
         gender.

(SAC ¶ 96.) While acknowledging Moody’s religious reason for her discharge, Garrick pleads,

“MBI’s decision was pretext for its true motives – discrimination and retaliation.” (SAC ¶ 89;

see also SAC ¶ 97).

         The SAC also pleads that Moody is a “post-secondary religious educational institution”

“with the stated mission of training students for the Christian ministry.” (See SAC ¶ 1; SAC Ex.

A [Charge at 2].)3 Faculty members are required to annually sign Moody’s Doctrinal Statement,

acknowledging their alignment with a variety of religious beliefs, including Moody’s “Gender

Roles in Ministry” statement, which communicates Moody’s theological/Biblical position that

certain pastoral roles are limited to men. (See SAC ¶¶ 80, 84, 85, 96; SAC Ex. A [Charge at 2,

4].) As stated above, Garrick disagreed with this “complementarian” view and instead espoused




         1
           Garrick’s sworn EEOC Charge (the “Charge”), which is Exhibit A to the SAC, was admissible
in deciding Moody’s motion to dismiss and is admissible in deciding this motion. See Fed. R. Civ. P.
10(c) (“A copy of a written instrument that is an exhibit to a pleading is a part of the pleading for all
purposes.”); Garrick v. Moody Bible Institute, 412 F. Supp. 3d 859, 862 n.2 (N.D. Ill. 2019) (“Garrick I”)
(“In addition to the complaint itself, on a motion to dismiss the Court may consider ‘documents attached
to the complaint, documents that are critical to the complaint and referred to in it, and information that is
subject to proper judicial notice.’” [quoting Geinosky v. City of Chi., 675 F.3d 743, 745 n.1 (7th Cir.
2012)]).
         2
           This Court may also consider Garrick’s termination letter, for the reasons stated in the preceding
footnote.
         3
           This Court could also take judicial notice of Moody’s deeply religious nature from its publicly
posted materials. See, e.g., www.moody.edu.

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an “egalitarian” view. (See SAC ¶¶ 20, 80, 84, 85, 89, 93, 96; SAC Ex. A [Charge at 2, 4].)

III.     THIS COURT’S DECISION DISMISSING GARRICK’S FIRST AMENDED
         COMPLAINT

         With respect to Garrick’s termination claims, the allegations of the First Amended

Complaint (“FAC”) were essentially the same as those in the SAC. (Compare Dkt. 67 ¶¶ 20-67,

107-132 with Dkt. 97 ¶¶ 18-97, 107-32.) Based on Garrick’s allegations, this Court held as

follows in dismissing the FAC on religious autonomy grounds:

                  Here, the essence of Garrick’s claims derives from her advocacy in favor of
         women gaining access to ministry positions—taking a stance that, according to
         Garrick herself, is contrary to Moody’s doctrinal views. She explains that the stated
         reason for her discipline and termination was her “egalitarian” view of gender and
         her failure to ratify Moody’s complementarian doctrine. Furthermore, she contends
         that this reason was pretext and that she was actually fired because of her advocacy
         in favor of female students joining the Pastoral Ministry Program. See FAC
         ¶¶ 124–29. Either way, Moody’s alleged reasons for firing Garrick were rooted
         firmly in its religious beliefs. [¶] Garrick’s disagreement with Moody’s beliefs on
         the role of women in the ministry underlies the majority of Garrick’s allegations. . .
         . Under these circumstances, if the Court were to delve into the disputes posed by
         Garrick, it would impermissibly inject the auspices of government into religious
         doctrine and governance.

Garrick I, 412 F. Supp. 3d at 871-72. This Court did permit Garrick to re-plead certain claims,

but only if she could do so independent of religious issues and disagreements:

         But there are strains of Garrick’s Title VII claims that may not be tied to Moody’s
         religious beliefs. For instance, Garrick complains of antagonistic treatment by male
         colleagues and inconsistent treatment of female and male faculty members by the
         administration with respect to job duties, employment requirements, and
         performance reviews. To the extent Garrick can state a claim concerning these
         issues in a way that is untethered from her disagreements with Moody’s religious
         views, she may be able to pursue those claims.

Id. at 872.4



         4
          Because Garrick I stated that Garrick’s termination claims were plainly intertwined with
religious issues, and because this quoted passage only identified non-termination issues that could
possibly “not be tied to Moody’s religious beliefs,” Moody interpreted Garrick I as sounding the death
knell for Garrick’s termination claims. This Court’s recent decision states otherwise.

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IV.      THIS COURT’S DECISION GRANTING IN PART AND DENYING IN PART
         MOODY’S MOTION TO DISMISS GARRICK’S SECOND AMENDED COMPLAINT

         Garrick’s SAC did not heed this Court’s directives in Garrick I. The SAC was not

limited to allegations that were unrelated to Moody’s religious beliefs, and the SAC again

included all of the same disputes and issues that Garrick had with students, peer faculty

members, and various administrators at Moody. In any event, on Moody’s motion, this Court

dismissed all of Garrick’s claims other than her termination claims. (See Dkt. 126 [“Garrick II”]

at 6 & n.3, 7-8, 14-15 [dismissing all hostile environment claims and noting that the only adverse

employment action within the 300-day limitations period is Garrick’s termination].)

         As to Garrick’s termination claims, Garrick II held that, based on a pleading difference,

the SAC’s termination claims survived, whereas the FAC’s termination claims had not:

         Whereas the previous complaint had cast Garrick’s objections to Moody’s
         complementarian creed as the real reason for her firing, the present complaint
         portrays Moody’s religious justification as a pretext for gender discrimination. See
         SAC ¶¶ 107, 127–32. Put differently, rather than questioning the reasonableness or
         legitimacy of Moody’s religious beliefs, Garrick disputes whether those beliefs
         actually prompted her firing.

Garrick II at 10. Supporting this point, the Court wrote, “What proved fatal to that pleading [i.e.,

the FAC] was Garrick’s allegation that ‘she was actually fired because of her advocacy in favor

of female students joining the Pastoral Ministry Program,’” citing FAC ¶¶ 124–29, which

pleaded that “the reason given for termination was [Garrick’s] egalitarian view on gender roles in

ministry” and that “Garrick was fired for assisting a female student in filing a Title IX

complaint” (FAC ¶¶ 124, 129). Because the SAC alleged that Moody’s stated religious reason

was pretextual, this Court declined to dismiss Garrick’s discrimination and retaliation claims.

V.       ARGUMENT

         A.     The SAC Was Not Materially Different from the FAC and Therefore Should Have
                Been Dismissed Like the FAC


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         The first error that Moody believes this Court committed in denying Moody’s motion to

dismiss is in concluding that the SAC was materially different from the FAC. The Court’s

conclusion that the FAC “cast Garrick’s objections to Moody’s complementarian creed as the

real reason for her firing” while the SAC “portrays Moody’s religious justification as a pretext

for gender discrimination” (Garrick II at 10) is not accurate in Moody’s view. The following

central allegations are in both the FAC and the SAC:

                         Allegation                                  FAC ¶¶            SAC ¶¶
 Garrick admits that she holds doctrinal views about the         22, 64, 67(i),    20, 38(i), 80,
 role of women in ministry that are contrary to Moody’s          124, 136,         85, 89, 96
 Doctrinal Statement, with which all faculty members must        138(b), 139
 agree
 Garrick admits that Moody’s stated reason for Garrick’s
 termination was her nonalignment with its Doctrinal             61, 64, 124,       80, 85, 89, 96
 Statement                                                       136

 Garrick alleges that her termination was actually because
 of her gender                                                   64                97

 Garrick alleges that her termination was actually in
 retaliation for complaining about sex discrimination in         110(f)            69(f), 129
 employment or for complaining about a gender-based
 hostile work environment
 Garrick alleges that her termination was actually because
 of her advocacy in favor of female students under Title IX      76, 129           96

 Garrick alleges that Moody’s stated religious reason for
 her termination is a pretext for discrimination and             64                89, 97
 retaliation

Furthermore, Garrick I expressly noted that the FAC pleaded that Moody’s religious reasons

were pretextual: “[Garrick] contends that this [termination] reason was pretext.” 412 F. Supp.

3d at 872. Thus, the same allegations are contained in both the FAC and the SAC, including the

alleged differentiation that the SAC pleaded the issue of pretext whereas the FAC did not. 5



         5
        Moody also does not understand Garrick II’s statements that the FAC “cast Garrick’s objections
to Moody’s complementarian creed as the real reason for her firing” and did not allege that Moody’s

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Because of this, both the FAC and the SAC required adjudication of Moody’s stated religious

justification, which “impermissibly inject[s] the auspices of the government into religious

doctrine” (Garrick II at 10), and the SAC should therefore have been dismissed like the FAC.

         In any event, regardless of whether the SAC was materially different from the FAC, the

basis on which this Court says this case must proceed—a dispute about whether Moody’s stated

religious reason for Garrick’s termination was in fact its true motivation—is not a permissible

inquiry under settled religious autonomy principles.

         B.     Under Binding Supreme Court Precedent, Whether a Religious Reason for a
                Religious Employer’s Termination Decision is Pretextual Is Not a Permissible
                Inquiry under the First Amendment Religion Clauses

         Garrick II states that Garrick’s allegation that Moody’s religious justification for her

firing is pretextual is enough to defeat the religious autonomy doctrines and require this case to

proceed. (Garrick II at 9-12.) Moody respectfully submits that this is not the law.

         In the ordinary employment discrimination case, the question of pretext—that is, whether

the employer’s stated for a termination is “a lie, specifically a phony reason for some action” that

is designed to cloak the employer’s true and unlawful reason for the firing, see, e.g., Graham v.

Arctic Zone Iceplex, LLC, 930 F. 3d 926, 929 (7th Cir. 2019)—may be a central issue requiring

discovery and trial. But in the context of a religious employer’s religiously motivated

employment decisions, motive-probing pretext discovery and a jury trial are precisely the sort of

intrusive inquiries that are prohibited by the Religion Clauses. The Supreme Court expressly

made this point in Hosanna-Tabor:




stated reason was pretextual. (Garrick II at 10.) If, in fact, the FAC admitted that Garrick’s religious
dispute with Moody was the “real reason” for her termination and never claimed that Moody’s reason was
actually illegal gender discrimination or retaliation, the FAC should have been dismissed with prejudice.
If a plaintiff admits that her employer’s reason for firing her is a nondiscriminatory one, the employee has
no discrimination or retaliation claim and the employer is entitled to judgment as a matter of law.

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         The EEOC and Perich [i.e., the terminated employee] suggest that Hosanna–
         Tabor’s asserted religious reason for firing Perich—that she violated the Synod’s
         commitment to internal dispute resolution—was pretextual. That suggestion misses
         the point of the ministerial exception. The purpose of the exception is not to
         safeguard a church’s decision to fire a minister only when it is made for a religious
         reason. The exception instead ensures that the authority to select and control who
         will minister to the faithful—a matter strictly ecclesiastical—is the church’s alone.

Hosanna-Tabor Evangelical Lutheran Church and Sch. v. EEOC, 565 U.S. 171, 194-95 (2012)

(citation omitted).6 The Supreme Court again affirmed the principle that pretext is off limits in

Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049 (2020). In Our Lady, two

Catholic elementary school teachers had brought suit alleging that their firings were the product

of age discrimination and retaliation for requesting medical leave (in contrast to the schools’

stated reasons). The Court ruled that both teachers fell within the scope of the ministerial

exception, barring their claims. See 140 S. Ct. at 2066-69. The Court held, “When a school with

a religious mission entrusts a teacher with the responsibility of educating and forming students in

the faith, judicial intervention into disputes between the school and the teacher threatens the

school’s independence in a way that the First Amendment does not allow.” Id. at 2069. And it

did not matter what particular reasons the schools gave for the employment decisions or,

alternatively, whether the teachers claimed such reasons were pretextual. The Court explained:

         Among other things, the Religion Clauses protect the right of churches and other
         religious institutions to decide matters “‘of faith and doctrine’” without government
         intrusion. . . . State interference in that sphere would obviously violate the free
         exercise of religion, and any attempt by government to dictate or even to influence
         such matters would constitute one of the central attributes of an establishment of
         religion. The First Amendment outlaws such intrusion.
                 . . . This does not mean that religious institutions enjoy a general immunity
         from secular laws, but it does protect their autonomy with respect to internal
         management decisions that are essential to the institution’s central mission. And a



         6
        See also id. at 205 (Alito, J., concurring) (“For civil courts to engage in the pretext inquiry that
respondent and the Solicitor General urge us to sanction would dangerously undermine the religious
autonomy that lower court case law has now protected for nearly four decades.”).

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         component of this autonomy is the selection of the individuals who play certain key
         roles.

Our Lady, 140 S. Ct. at 2060 (citations omitted). Our Lady further reinforced these principles, in

Moody’s very educational context:

                  The religious education and formation of students is the very reason for the
         existence of most private religious schools, and therefore the selection and
         supervision of the teachers upon whom the schools rely to do this work lie at the
         core of their mission. Judicial review of the way in which religious schools
         discharge those responsibilities would undermine the independence of religious
         institutions in a way that the First Amendment does not tolerate.

Our Lady, 140 S. Ct. at 2055.

         The federal appellate courts have also expressly held that “pretext” inquiries are off limits

when religious autonomy principles are in play. See, e.g., Lee v. Sixth Mount Zion Baptist

Church, 903 F.3d 113 (3d Cir. 2018) ( “parsing the precise reasons for [plaintiff] Lee’s

termination is akin to determining whether a church’s proffered religious-based reason for

discharging a church leader is mere pretext, an inquiry the Supreme Court has explicitly said is

forbidden by the First Amendment’s ministerial exception” [citing Hosanna-Tabor, 565 U.S. at

194-95]); Myhre v. Seventh-Day Adventist Church Reform Movement Am. Union Int’l

Missionary Soc’y, 719 Fed. App’x 926, 927-29 (11th Cir. 2018) (former employee’s breach-of-

contract claim against church denomination for terminated retirement benefits was properly

dismissed because ecclesiastical abstention doctrine prevented court from evaluating

denomination’s view of the propriety of plaintiff’s conduct); Petruska v. Gannon Univ., 462 F.3d

294 (3d Cir. 2006) (affirming Rule 12(b)(6) dismissal of Title VII claims of gender

discrimination and retaliation of female Catholic university chaplain; plaintiff argued that the

university’s decision was “merely pretext for gender discrimination,” but the court held that

adjudicating the university’s reasons for its decisions would be to impermissibly evaluate its



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decisions as to ministerial functions); Bryce v. Episcopal Church in the Diocese of Colo., 289

F.3d 648, 657-59 (10th Cir. 2002) (affirming dismissal of youth minister’s Title VII claims of

harassment based on her sexual orientation, as barred by the church autonomy doctrine; courts

may only adjudicate “purely secular disputes”).7

         Thus, deciding whether Moody’s given religious reason for Garrick’s termination is

pretextual is not a permissible inquiry. Therefore, Garrick’s termination claims cannot proceed.

         C.     Court Decisions that Suggest Pretext May Permissibly Be Adjudicated Are
                Contrary to Our Lady and Hosanna-Tabor or Are Otherwise Inapposite

         Garrick II cites five cases that it says stand, in one way or another, for the proposition

that it is permissible for a secular court to judge whether a religious employer’s motives are

pretextual. Each is distinguishable.

         This Court notes that Curay-Cramer v. Ursuline Academy, 450 F.3d 130 (3d Cir. 2006),

states that “when a plaintiff ‘only question[s] whether [religion] was the actual motivation’ for an

adverse action, the employer’s religious autonomy is not threatened.” (Garrick II at 10 [quoting

Curay-Cramer, 450 F.3d at 139.) Moody does not consider this a fair point to draw from Curay-

Cramer. In Curay-Cramer, the female teacher at a Catholic school had signed a public

advertisement supporting a pro-choice cause, which the school said was inconsistent with


         7
          See also Curay-Cramer v. Ursuline Academy, 450 F.3d 130, 139 (3d Cir. 2006) (“Comparing
Curay–Cramer to other Ursuline employees who have committed ‘offenses’ against Catholic doctrine
would require us to engage in just the type of analysis specifically foreclosed by Little [v. Wuerl, 929 F.2d
944 (3d Cir. 1991)]”); Minker v. Baltimore Annual Conference of United Methodist Church, 894 F.2d
1354, 1360-61 (D.C. Cir. 1990) (“the first amendment forecloses any inquiry into the Church’s
assessment of Minker’s suitability for a pastorship, even for the purpose of showing it to be pretextual”;
“any inquiry into the Church’s reasons for asserting that Minker was not suited for a particular pastorship
would constitute an excessive entanglement in its affairs”); EEOC v. Mississippi College, 626 F.2d 477,
485 (5th Cir. 1980) (if the religious organization presents a plausible case that the adverse employment
action was religiously motivated, the EEOC is constitutionally prohibited from investigating whether the
decision is pretext for gender or race discrimination); cf. Alicea-Hernandez v. Catholic Bishop of Chi.,
320 F.3d 698, 702-03 (7th Cir. 2003) (race and gender claims were barred by the ministerial exception;
“To rule otherwise would enmesh the court in endless inquiries as to whether each discriminatory act was
based in Church doctrine or simply secular animus”).

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Catholic teaching and terminated her employment. The teacher sued, alleging that the school’s

reason was pretextual and that similarly situated male employees were not also fired. Relying on

pre-Hosanna-Tabor precedent, Curay-Cramer made the point that even the mere “inquiry into

the good faith of the position asserted by the clergy-administrators” could “impinge on rights

guaranteed by the First Amendment.” 450 F.3d at 138 (quoting NLRB v. Catholic Bishop of

Chi., 440 U.S. 490, 502 (1979)) (emphasis added). It then held, “[W]ith the allegation that male

employees, who committed substantially similar offenses, were treated differently than was

Curay–Cramer, we would have to assess the relative severity of offenses. This exercise would

violate the First Amendment.” 450 F.3d at 139. In affirming the Rule 12(b)(6) dismissal of the

plaintiff’s sex discrimination claim, the court concluded by noting that the types of cases which

courts may permissibly adjudicate are likely those in which “a religious employer does not offer

a religious justification for an adverse employment action against a non-ministerial employee.”

Id. at 142. Because adjudication of Garrick’s claim will require analysis of whether the doctrinal

nonalignment of alleged similarly situated male employees was a similarly grave doctrinal

problem, Garrick’s claims are barred as in Curay-Cramer.8



         8
         To illustrate further, consider what this Court will potentially be forced to adjudicate if it
proceeds to decide the question of pretext in this case. As this Court has noted, Garrick alleges that male
employees who were not aligned with Moody’s Doctrinal Statement were not also fired or were otherwise
treated more favorably. (See, e.g., SAC ¶ 38(i)-(j).) To decide this issue, this Court may need to
adjudicate a variety of entangling religious questions:
        On what doctrinal point(s) were the male employees not in alignment?
        How did Moody view such male employees’ nonalignment?
        Where did the doctrinal point rank in the hierarchy of Moody’s theological beliefs?
        What biblical or theological support did the male employee have for his stated position
                 and was his position in fact contrary to Moody’s Doctrinal Statement?
        How vocal was the male employee’s nonalignment and was that a religious consideration?
        Which doctrinal disagreements are considered by Moody to be terminable nonalignment,
                 which are not, and why?
        Are Moody’s doctrinal views sincerely held?
        Has Moody consistently enforced its doctrinal views?
        Are there religious grounds for any inconsistent enforcement, if any, of Moody’s doctrinal views?

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         The case of DeMarco v. Holy Cross High Sch., 4 F.3d 166, 172 (2d Cir. 1993), is neither

controlling nor helpful. DeMarco was decided in 1993, did not involve the religious autonomy

doctrines in play here, and is plainly inconsistent with Hosanna-Tabor and Our Lady. But even

DeMarco, in permitting a Catholic school math teacher’s age discrimination claim to proceed,

noted that the court (and jury) could not pass judgment on the religious employer’s motivations:

“[We] conclude that ADEA plaintiffs may not challenge the plausibility of putative religious

purposes. A fact-finder will necessarily have to presume that an asserted religious motive is

plausible in the sense that it is reasonably or validly held.” 4 F.3d at 171.

         The case of Redhead v. Conference of Seventh-Day Adventists, 566 F. Supp. 2d 125, 134

(E.D.N.Y. 2008), which this Court quotes as saying “an employer’s simple assertion of a

religious motive usually will not prevent a reviewing court from asking whether that motive was

in fact pretext within the meaning of McDonnell Douglas,” is also nonbinding and inapplicable.

It too pre-dates, and is inconsistent with, Hosanna-Tabor’s affirmation of the ministerial

exception and related religious autonomy principles. Even so, it acknowledged that “When a

Title VII case is brought against a religious organization, however, the evidence that may be

considered at this stage is circumscribed in that neither the court, nor the jury, may question the

sincerity of a defendant’s belief in a proffered religious justification.” 566 F. Supp. 2d at 134.

         Garrick II (p. 11, n.6) criticizes Moody’s reliance on Fratello v. Archdiocese of New

York, 863 F.3d 190 (2d Cir. 2017). But Fratello supports dismissal in this case. While this

Court is correct that the Fratello court only found it necessary to conclude that the Catholic

school principal was a minister within the meaning of the ministerial exception to justify



Just as held in Curay-Cramer, the analysis required to decide whether male and female employees were
treated differently by Moody on points of doctrinal conflict involves religious questions that this Court is
not qualified to, or permitted to, adjudicate.

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affirming the dismissal of her claims of sex discrimination and retaliation, the Fratello court’s

discussion encompassed the principle that courts are not permitted to adjudicate questions of

pretext. First, the Court discussed and followed Hosanna-Tabor, which rejects the adjudication

of pretext (see discussion above). See 863 F.3d at 201-06. Second, Fratello noted that even its

pre-Hosanna-Tabor case law did not permit adjudication of pretext. Quoting its precedent in

Rweyemamu v. Cote, 520 F.3d 198, 207 (2d Cir. 2008), the court wrote, “[E]ven when we permit

suits by lay employees, we will not subject to examination the genuineness of a proffered

religious reason for an employment action.” 863 F.3d at 202 n.25. Third, the Fratello court

expressly noted the prohibition on adjudicating pretext, which the Second Circuit had adopted in

Rweyemamu: “Indeed, ‘in order to prevail on his Title VII claim, he [would have had to] argue

that the decision of the [religious authorities] was not only erroneous, but also pretextual.”

[Rweyemamu, 520 F.3d at 209.] We therefore held that his ‘claim fail[ed] at its inception’

‘[b]ecause Title VII [was] unconstitutional as applied in th[at] case.’ Id.” 863 F.3d at 202

(brackets in original, except for added citation). Finally, the Fratello court wrote that even

where the ministerial exception does not apply, a court still may have no authority to question a

religious employer’s articulated religious basis for an employment decision: “If, as the district

court concluded, the ministerial exception applies, the reason for her termination does not matter.

Had a religious reason been proffered, however, our precedent suggests that a foray into the

ministerial exception would perhaps not be necessary.” Id. at 197 n.15. All of this supports the

conclusion that this Court may not proceed to adjudicate the issue of pretext in this case.

         Garrick II also relies on Sterlinski v. Catholic Bishop of Chi., 934 F.3d 568 (7th Cir.

2019), in deciding that pretext is an issue this Court may adjudicate. But the very brief

discussion of pretext in Sterlinski pertains to pretext in a different context and is also dicta.



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Sterlinski affirmed the dismissal of a church Director of Music’s claims of discrimination and

retaliation upon a finding that he qualified as a minister under the ministerial exception. The

pretext issue that Sterlinski mentions was not a question of the honesty of the religious

employer’s stated reason for the adverse employment action; Sterlinski’s discussion addressed

the concern that a religious employer might attempt to over-designate its employees as

“ministers” in order to gain the immunity provided by the exception. See 934 F.3d at 571 (“A

church claiming “minister” status for bus drivers would invite a finding of pretext, but a church

claiming that persons who chant, sing, or play music during a service perform religious functions

is on solid ground.”). In any case, because there was no issue of pretext present in the case

(“Sterlinski does not contend that the Bishop’s justification for calling him a ‘minister’ is

pretextual,” id.), the Sterlinski court’s mention of pretext is dicta. Finally, Sterlinski’s discussion

of pretext is difficult to square with Hosanna-Tabor (see discussion above) and its point was

essentially rejected in Our Lady.9

         Garrick II concludes its discussion of Moody’s religious autonomy defenses with

comments on Demkovich v. St. Andrew the Apostle Parish, 973 F.3d 718 (7th Cir. 2020) (which

had not been decided when Moody filed its motion to dismiss). As the Court notes, Demkovich

involved only hostile environment claims, and because the Court has dismissed Garrick’s hostile

environment claims, Demkovich has little to no present relevance.10


         9
           Our Lady emphasizes that the religious organization’s view of whether the employee serves a
religious role in its ministry is entitled to deference. See 140 S. Ct. at 2066. “[T]he Religion Clauses
require civil courts to defer to religious organizations’ good-faith claims that a certain employee’s
position is ‘ministerial.’” Id. at 2069-70 (Thomas, J., joined by Gorsuch, J., concurring).
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            Moody notes, however, that the Court’s comment that “unlike Garrick, the musician did not
allege that the organization’s religious justification for the derogatory remarks was pretextual” (Garrick II
at 14) is not on point. Pretext is only an issue for tangible job employment actions; if an employer fails to
remedy a hostile environment based on sex or some other protected characteristic, pretext is not part of
the analysis. See generally Huri v. Office of the Chief Judge of the Circuit Court of Cook Cty., 804 F.3d
826, 833-34 (7th Cir. 2015) (discussing the elements of a hostile environment claim). Thus, to the extent

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         In sum, Moody submits that the cases on which Garrick II relies in deciding to proceed

with adjudicating whether Moody’s religious justification for Garrick’s termination is pretextual

do not support the point, and that such inquiry is, in fact, barred by Supreme Court precedent.

         D.     If this Court Decides to Proceed on the Basis that Pretext May Be Adjudicated,
                Moody Asks that the Court Certify the Issue for Interlocutory Appeal

         If this Court is inclined to proceed with this case on the basis that pretext is a central issue

to be adjudicated, Moody asks that the Court certify for interlocutory appeal this important

question. In Moody’s view, proceeding with discovery and a possible trial on the question of

Moody’s religious motivations will subject it to unconstitutional judicial interference. The right

of religious autonomy provides a form of immunity from the burdens of litigation. See Sterlinski

v. Catholic Bishop of Chicago, 934 F.3d 568, 569-72 (7th Cir. 2019) (the ministerial exception is

not just as an affirmative defense to liability, but also a limitation on discovery, because the

ministerial exception exists “precisely to avoid . . . judicial entanglement in, and second-guessing

of, religious matters,” including by “subjecting religious doctrine to discovery”); Korte v.

Sebelius, 735 F.3d 654, 677-78 (7th Cir. 2013) (“where it applies, the church-autonomy principle

operates as a complete immunity, or very nearly so”). A court’s interference with such right

cannot be undone by an appeal after final judgment, so interlocutory appeal is appropriate. See

McCarthy v. Fuller, 714 F.3d 971 (7th Cir. 2013) (“The harm of such a governmental intrusion

into religious affairs would be irreparable, just as in the other types of case in which the

collateral order doctrine allows interlocutory appeals.”).

         Certification under 28 U.S.C. § 1292(b) is an appropriate vehicle to secure timely

appellate review. See generally Ahrenholz v. Bd. of Trustees of Univ. of Ill., 219 F.3d 674, 675



this Court believed that Demkovich supported its rejection of Moody’s religious autonomy defenses,
Moody respectfully disagrees.

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(7th Cir. 2000). Section 1292(b) provides, “When a district judge, in making in a civil action an

order not otherwise appealable under this section, shall be of the opinion that such order involves

a controlling question of law as to which there is substantial ground for difference of opinion and

that an immediate appeal from the order may materially advance the ultimate termination of the

litigation, he shall so state in writing in such order.” The question of whether pretext may be

adjudicated in the context of Garrick’s claims is a “controlling question of law” and an

“immediate appeal . . . may materially advance the ultimate termination of the litigation” because

if the Seventh Circuit agrees that pretext may not be adjudicated in this case, Moody’s motion to

dismiss will need to be granted. Moody proposes that this Court certify the following question

for interlocutory appeal:

         Where a religious school protected by the church autonomy doctrine of the First
         Amendment terminates the employment of a teacher for the teacher’s conceded
         non-alignment with its religious doctrine, may a court permit discovery and trial
         under Title VII on the question of whether the school’s stated religious reason for
         termination is pretextual?”

Moody’s request is consistent with recent Seventh Circuit practice on the interlocutory appeal of

important religious autonomy issues. See Demkovich, 973 F.3d at 721-22 (granting interlocutory

appeal on the district court’s 1292(b) certification of an important religious autonomy question).

If the Court desires further briefing on the certification question, Moody will provide it.

VI.      CONCLUSION

         For the reasons stated above, Moody asks that the Court reconsider its decision denying

Moody’s motion to dismiss as to Garrick’s termination claims (Dkt. 126) and dismiss such

claims.11

Dated: October 27, 2020                                     Respectfully submitted,

                                                            s/ Christian Poland

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              In light this motion, Moody also requests that its deadline to Answer the SAC be suspended.

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                                  CERTIFICATE OF SERVICE

         Christian Poland, one of the attorneys for Defendant, The Moody Bible Institute of

Chicago, states that on October 27, 2020, he served a true and correct copy of the foregoing

document upon Plaintiff by causing said document to be delivered to her via the Court’s ECF

system, addressed as follows:

                                Janay E. Garrick
                                P.O. Box 8633
                                Moscow, ID 83843
                                407-803-3051
                                janay.garrick@gmail.com




                                                     s/ Christian Poland




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                                                                       EXHIBIT A
